      Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 1 of 14




                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                      No. 2:12-md-02323-AB
INJURY LITIGATION                               MDL No. 2323


Kevin Turner and Shawn Wooden,                  Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

             Plaintiffs,

                 v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

             Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


  MEMORANDUM OF LAW IN SUPPORT OF SEAN MOREY, ALAN FANECA, BEN
 HAMILTON, ROBERT ROYAL, RODERICK CARTWRIGHT, JEFF ROHRER, AND
 SEAN CONSIDINE’S MOTION FOR LEAVE TO CONDUCT LIMITED DISCOVERY

       Sean Morey, Alan Faneca, Ben Hamilton, Robert Royal, Roderick Cartwright, Jeff

Rohrer, and Sean Considine (collectively, “Movants”) – all members of the settlement class –

respectfully request leave to conduct limited discovery in preparation for this Court’s November

19, 2014 fairness hearing. The purpose of that hearing is to assess the adequacy, fairness, and

reasonableness of the proposed settlement entered into between Class Counsel and the NFL

Parties. Movants’ proposed discovery requests, interrogatories, and depositions are attached as

Exhibit A.
       Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 2 of 14




                                         BACKGROUND

       This Court granted preliminary approval of the settlement on July 7, 2014. It entered an

Order setting a schedule leading up to a final fairness hearing to occur on November 19, 2014.

The schedule set October 14, 2014 as the date by which Movants and any other class members

must file any objection they have to the June 25, 2014 settlement.

       Movants seek limited discovery into the process through which the settlement – which

contains substantial conflicts as well as other flaws – was negotiated and the strength of the

defenses to the core allegations.

I.     The Absence of Discovery

       As far as Movants know, no discovery was taken by Class Counsel. Class Counsel

settled a case in which they raised serious allegations of misconduct by defendants without

analyzing any evidence produced through the adversarial process.         Such conduct by Class

Counsel calls into question the adequacy of the representation of the class and the fairness of the

negotiated settlement. See, e.g., In re Cmty. Bank of N. Va., 418 F.3d 277, 307 (3d Cir. 2005)

(absence of “adequate exploration of the absent class members’ potential claims” through

discovery made it “questionable whether class counsel could have negotiated in their best

interests”); In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768,

814 (3d Cir. 1995) (concluding that “the inchoate stage of case development reduces our

confidence that the proceedings had advanced to the point that counsel could fairly, safely, and

appropriately decide to settle the action”). Class Counsel has not yet explained why they entered

into a settlement without utilizing any of the tools of discovery.

II.    Defects in the Class

       The class, as now certified, has several substantial conflicts that demonstrate a lack of

adequate representation. The three primary substantial defects are: a failure to compensate class

                                                 2
      Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 3 of 14




members with CTE who die after the date of preliminary approval, notwithstanding that a class

member who died with CTE prior to preliminary approval receives $4 million; a 75% reduction

in awards to class members who experience TBI other than through football; and a failure to

credit players for seasons played in NFL Europe.

       A.     Failure to Compensate CTE

       Class Counsel has estimated that thousands of class members, like Movants, experience

symptoms associated with Mild Traumatic Brain Injury, or MTBI.1 Those symptoms include

visuospatial difficulties, executive function deficit, chronic headaches, dysnomia, decreased

emotional stability, increased impulsivity, and attention and concentration deficits.2     Class

members who suffer from those symptoms are also at an increased risk of developing chronic

traumatic encephalopathy, or “CTE.” See A.C. McKee et al., The Spectrum of Disease in

1
  In an apparent effort to attract clients and communicate with the class, Co-Lead Class Counsel,
Seeger Weiss had on its website a tutorial relating to MTBI and football. See Up-To-Date
Information on NFL Concussions, Seeger Weiss LLP, (Sept. 9, 2014), http://www
.seegerweiss.com/football-concussions/#ixzz3CByVHxui (attached as Exhibit B). Up until it
was raised at oral argument before the Third Circuit on September 10, 2014, the Seeger Weiss
website stated:
       Frequent brain trauma or multiple football concussions . . . has shown to cause
       serious mental health problems. Thousands of football players, many of whom
       are thought to have suffered more than one hundred mild traumatic brain injuries,
       are dealing with horrible and debilitating symptoms.
       Multiple medical studies have found direct correlation between football
       concussions and suffering from symptoms of chronic traumatic encephalopathy,
       also known as CTE. CTE is believed to be the most serious and harmful disease
       that results from NFL and concussions. CTE is a progressive degenerative
       disease that causes damage to the brain tissue and the accumulation of Tau
       Proteins.
Id. (emphasis added). Seeger Weiss hurried to remove that language after oral argument in the
Third Circuit on September 10, 2014, at which the inadequate representation and failure to
compensate CTE, as well as this language on their website, was raised.
2
 These conditions are more fully described in the Objection to June 25, 2014 Class Action
Settlement and Opposition to Motion for Preliminary Approval, filed on July 2, 2014. See Dkt.
No. 6082 (“Objection,” attached as Exhibit C).

                                               3
      Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 4 of 14




Chronic Traumatic Encephalopathy, 136 Brain: A Journal of Neurology 43, 52, 55-59 (2012).

Class Counsel has consistently told class members that CTE is “the most serious and harmful

disease that results from NFL and concussions.” Ex. B. CTE is the only one of the diseases

that the Class Complaint alleges results from MTBI, which can be had only through MTBI. It is

the industrial disease of football. But class members who have CTE or are at risk of developing

CTE remain inadequately represented in the proposed settlement.

       First, the class representatives do not allege that they have CTE or even that they are at

risk of developing CTE. This is the class’s most obvious fatal defect because there is disparate

and arbitrary treatment of class members who have developed or who suffer from a risk of

developing CTE. For example, while a retired player with CTE who died before July 7, 2014

could receive a $4 million payment under the settlement, a player who dies only one day later

with the same condition receives nothing. Dkt. No. 6019-1 at 13-19; Ex. B at 19-26. That is

because the settlement defines “qualifying diagnoses” to include “a post-mortem diagnosis of

CTE” only “[f]or Retired NFL Football Players who died prior to the date of the Preliminary

Approval and Class Certification Order.” Revised Settlement Ex. B-1 ¶ 5; see also Revised

Settlement ¶¶ 2.1(yyy), 6.3(a). Class Counsel have yet to explain the reasons for such a striking

difference in treatment among players suffering from CTE based on when a class member dies

from the disease.3 And Class Counsel have had multiple opportunities to do so: Movants

identified those deficiencies in both their Motion to Intervene and Objection to the Preliminary

Settlement. For class members whose current MTBI-related afflictions have been linked to CTE,




3
  CTE, moreover, is likely the most prevalent serious disease faced by class members. Thirty-
three of 34 deceased NFL players whose brains have been examined for CTE have been
diagnosed with the condition. McKee, supra, at 59.

                                               4
       Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 5 of 14




the bargaining away of all compensation for all future cases of CTE provides a substantial

incentive to carefully scrutinize the settlement’s terms and ensure its fairness.

       Other class members, moreover, suffer from numerous CTE symptoms that go

completely uncompensated under the terms of the proposed settlement. Visuospatial difficulties,

chronic headaches, dysnomia, decreased emotional stability, increased impulsivity, depression,

and suicidality are not compensated. Memory problems, language impairment, attention and

concentration deficits, and executive function deficit likewise go uncompensated if they do not

rise to the level of 1.0 dementia as defined in the settlement. See Revised Settlement Ex. B-5.

The “linchpin of the adequacy requirement is the alignment of interests and incentives between

the representative plaintiffs and the rest of the class.” Dewey v. Volkswagen Aktiengesellschaft,

681 F.3d 170, 183 (3d Cir. 2012). Because the class representatives do not allege that they suffer

from CTE, suffer from CTE symptoms, or suffer from an increased risk of developing CTE, their

interests are fundamentally misaligned with the rest of the class.

       B.      The 75% Offsets

       The proposed settlement also imposes extreme offsets that create an additional class

conflict. It reduces a claimant’s award by 75% for a single instance of non-football-related

traumatic brain injury or stroke. Revised Settlement § 6.7(b)(ii)-(iii). That 75% offset applies

regardless of the severity of traumatic brain injury that the player sustained while playing

football. As the Seeger Weiss website had noted until it was changed following the Third Circuit

argument, many NFL players “are thought to have suffered more than one hundred mild

traumatic brain injuries.” Ex. B. The 75% offset assumes that a single non-football-related

instance of TBI accounts for 75% of a player’s MTBI-related injuries, even though that player

may have sustained numerous head traumas throughout his NFL career. Neither of the class

representatives alleges that he would be subject to this offset.
                                                  5
       Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 6 of 14




       C.      The Failure to Credit Seasons Played in NFL Europe

       The proposed settlement, moreover, does not award “Eligible Season” credit for time

spent playing in NFL Europe. Revised Settlement § 6.7(c)(i). As a result, a class member who

played five years in the NFL will receive a larger settlement award than a class member who

played part of his five-year career in NFL Europe. That is true despite players’ undoubted

exposure to numerous sub-concussive impacts comparable to those of their NFL counterparts in

the United States. Neither class representative alleges that he played in NFL Europe.

III.   Other Deficiencies in the Settlement

       In addition to these class conflicts, the proposed settlement is seriously flawed. For

example, the notice – already distributed to players – is not only inadequate, but false on its face.

“To satisfy due process,” notice to class members “‘must be sufficiently informative and give

sufficient opportunity for response.’” Bell Atl. Corp. v. Bolger, 2 F.3d 1304, 1317 (3d Cir.

1993). Such is not the case here. The notice here states:

       Monetary awards are available for the diagnosis of ALS, Parkinson’s Disease,
       Alzheimer’s Disease, Level 2 Neurocognitive Impairment (i.e., moderate
       Dementia), Level 1.5 Neurocognitive Impairment (i.e., early Dementia) or Death
       with CTE (the “Qualifying Diagnoses”). A Qualifying Diagnosis may occur at
       any time until the end of the 65-year term of the Monetary Award Fund.

Dkt. No. 6084-1 at 10 (emphasis added). That is flatly incorrect. Under the proposed settlement,

Death with CTE is not compensable at “any time.” It is only compensable if the death occurred

before the date of the preliminary settlement. The notice currently being distributed to players is

nothing more than misinformation targeted at inducing settlement, not at adequately informing

players of the actual implications of the settlement’s terms. Such muddled advisement falls far

short of providing sufficiently informative notice upon which players may rely in deciding

whether to remain in the class or opt out.



                                                 6
       Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 7 of 14




        A class member who decides to remain in the class, moreover, must enter a procedural

labyrinth that will surely prevent many class members from successfully receiving payment,

even for those with a Qualifying Diagnosis. Ex. C at 32-35. Among other problems, the claims

process imposes arbitrary deadlines, burdensome claims-form filing requirements, and places

limitations and evidentiary burdens upon a claimant’s ability to appeal a denial of benefits

(without subjecting the NFL to such requirements). See Revised Settlement §§ 4.2(c), 5.4,

6.7(b)(iv), 8.2(a), 8.3(a)(i), 8.6(a), 9.6(b), 9l7(a), 9.8(a).

        The timing of the $112.5 million legal fee – which the NFL Parties agreed not to oppose

even before signing and public release of the settlement – and its size in comparison to the

apparent amount of work done further illustrate class counsel’s inadequacy and the need for

discovery. Ex. C at 37-38; see also Fed. R. Civ. P. 23(g). Class members are entitled to know

through discovery whether Class Counsel – who took no fact depositions, took no expert

depositions, conducted no document discovery, and conducted no summary judgment practice –

adequately protected their rights when they were negotiating that sum with the NFL.

IV.     Class Counsel Have Implicitly Conceded Discovery Is Appropriate

        Class Counsel’s own representations confirm that limited discovery is now appropriate.

In opposing earlier requests for information pertaining to the settlement negotiation, Class

Counsel explained that after preliminary approval, “without doubt, the materials can and should

be made available to absent class members, as such access is traditionally allowed in between the

time of preliminary approval and the final fairness hearing.” Dkt. No. 5699 at 5. In ordering the

release of the actuarial reports provided to the Special Master, this Court has recognized that this

time has now come. But the class is entitled to more than just the actuarial reports. They need

information pertaining to the merits of their claims and anything else that informed Class

Counsel’s negotiation of the settlement.
                                                     7
       Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 8 of 14




        Class Counsel’s effort to excuse such flaws in the settlement by emphasizing the danger

of the NFL’s defenses on the merits is a bark with little bite, given that Class Counsel have

conducted no discovery into either the strength of the class’s claims or the pitfalls of the NFL’s

defenses. Ex. C at 40-47.4 Class members are entitled to discovery to test the strengths and

weaknesses of the proposed settlement.

                                           ARGUMENT

       Circuit precedent and common sense make clear that class members seeking to evaluate a

proposed settlement must have the opportunity to test through discovery the strengths and

weaknesses of the proposed settlement. Here, that discovery includes: (1) information Class

Counsel relied on in entering the preliminary settlement; and (2) information the NFL has

involving the cognitive injuries at issue in this case.

I.     Class Members Must Be Afforded the Opportunity To Evaluate the Settlement

       Class members attempting to evaluate a class settlement that has been preliminarily

approved must have “an adequate opportunity to test by discovery the strengths and weaknesses

of the proposed settlement.” Girsh v. Jepson, 521 F.2d 153, 157 (3d Cir. 1975). In Girsh, for

example, after the fairness hearing date was set, a class member submitted four sets of

interrogatories to both defendants and representative plaintiffs. Id. at 157. The defendants

responded to the interrogatories by explaining they already had provided the requested

information to representative plaintiffs’ counsel. Id. at 157 n.8. The class member moved to

compel. Id. at 157. The district court denied that motion, and later approved the settlement after

the final fairness hearing. Id. The Third Circuit reversed and remanded “for a more complete

development of the record.” Id. at 159. The Third Circuit reasoned that the class member “was

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  Movants have twice raised with this Court their concerns about Class Counsel’s adequacy of
representation for the class. See Dkt. Nos. 6019, 6082.

                                                   8
      Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 9 of 14




not afforded an adequate opportunity to test by discovery the strengths and weaknesses of the

proposed settlement.” Id. at 157.

       More recently, in In re Community Bank of Northern Virginia, 418 F.3d 277 (3d Cir.

2005), the Third Circuit confronted a proposed settlement where “no formal discovery was

undertaken by class counsel.” Id. at 316. “[I]n an effort to establish the inadequacy of the

settlement,” one objector served several deposition requests and subpoenaed other parties to

appear at the fairness hearing. Id. at 291. The settling parties moved to quash the discovery

requests and subpoenas, requesting an order that no discovery be taken. Id. Four days before the

fairness hearing, the district court granted that motion. It quashed the outstanding subpoenas and

deposition notices and required the court’s pre-approval of any future discovery request. Id.

       The Third Circuit reversed, holding that precluding discovery was an abuse of discretion.

418 F.3d at 316-17. Although the district court “purport[ed] to permit discovery” by absentee

class members, its order “in all practical respects barred discovery altogether” because it issued

just four days before the hearing and required pre-approval for any discovery. Id. at 316. The

Third Circuit remanded with instructions that the district court “develop fully the record and

reevaluate whether an order limiting discovery is appropriate in light of its duty to ‘employ

procedures that it perceives will best permit it to evaluate the fairness of the settlement.’ ” Id.

(quoting In re Prudential Ins. Co. of Am. Sales Practices Litig., 962 F. Supp. 450, 563 (D.N.J.

1997)); see also Charron v. Wiener, 731 F.3d 241, 248 (2d Cir. 2013) (noting that where

objectors “raise cogent factual objections to the settlement and prior discovery was insufficient

or nonadversarial . . . district courts [must] exercise particular care to see to it that the non-

assenting plaintiff . . . has had a full opportunity to develop the basis for his objection”

(punctuation and citations omitted)); In re Gen. Motors Corp. Engine Interchange Litig., 594



                                                9
      Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 10 of 14




F.2d 1106, 1123-24 (7th Cir. 1979) (holding district court abused its discretion in “refus[ing] to

permit discovery” into the settlement negotiations); Newberg on Class Actions §11:57 (4th ed.)

(noting “proponent’s prior discovery . . . most probably will not supply the objector with the

material necessary to support an attack on the proposed settlement” so “the objector must secure

evidence through independent discovery”).

II.    Movants Are Entitled to Limited Discovery

       Discovery should be permitted so that objectors and absentee class members understand

how the settlement was reached and receive the required “opportunity to test by discovery the

strengths and weaknesses of the proposed settlement.” Girsh, 521 F.2d at 157; Cmty. Bank, 418

F.3d at 316-17.

       A.      Class Members Are Entitled To Know How the Settlement Was Reached

       Class Counsel have not made available information on which they relied in negotiating

the settlement. They have not disseminated the results of any investigation into the merits of

class members’ claims. They have not released the information “exchanged” with the NFL

Defendants during the mediation. Dkt. No. 6073-5 at 43. And they have not disclosed sufficient

medical, actuarial, and economic studies on which they purportedly based the settlement’s terms.

Indeed, Class Counsel have actively resisted disclosing such information, see Dkt. No. 5699

(opposing request to release data utilized by Class Counsel during negotiations), doing so only

after a Court order, see Dkt. No. 6160.5 The negotiation process has been a black box to all but




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  The reports provided to the Special Master were drafted after this Court’s January 14, 2014
Order denying preliminary approval. See Dkt. No. 6167 (Class Counsel’s report dated February
10, 2014); Dkt. No. 6168 (NFL report referencing the January 14, 2014 Order). These post-hoc
summaries thus cannot be the information “exchanged” by the settling parties nor can these
reports be the actual studies on which the settlement was based. Dkt. No. 6073-5 at 43.

                                               10
      Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 11 of 14




the select few who directly participated in it. Unless that black box is opened, absentee class

members have no way to assess the value of the settlement.

       The information – for example, negotiation documents and studies exchanged among the

settling parties, Mediator, and Special Master – will help class members understand the number

and value of the claims being released. This information will also help class members assess the

adequacy of the Baseline Assessment Program Fund, which is capped at $75 million and has a

lifespan of only ten years, with a possible extension of another five years.

       It makes no difference whether Class Counsel had access to this information. “[A]n

objector [is] in an adversary relationship with both plaintiffs and defendants and [is] entitled to at

least reasonable discovery against both.” Girsh, 521 F.2d at 157; see also Newberg on Class

Actions § 11:57 (4th ed.) (noting “the objector’s request for discovery should be granted if he or

she can demonstrate to the court that the previous discovery undertaken by the proponents was

not adversarial in nature”); Eubank v. Pella Corp., 753 F.3d 718, 720 (7th Cir. 2014) (rejecting

class settlement and noting “when a judge is being urged by both adversaries to approve the

class-action settlement that they’ve negotiated, he’s at a disadvantage in evaluating the fairness

of the settlement to the class”). An objector thus has a right to discovery independent of any

discovery or exchange of information conducted by the settling parties. Girsh, 521 F.2d at 157.

       B.      Class Members Are Entitled To Know the Strengths and Weaknesses of the
               NFL’s Defenses

       Discovery is vital to understanding the strengths and weaknesses of the NFL’s defenses

on the merits. The ultimate viability of class members’ claims was a pointed focus of this

Court’s Order granting preliminary approval, see Dkt. No. 6083 at 10-11, and will likely take

center stage at the fairness hearing, see Girsh, 521 F.3d at 157 (noting court must consider “the

risks of establishing liability” in granting final approval). Without discovery, class members


                                                 11
      Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 12 of 14




cannot meaningfully assess the viability of any defenses and cannot fully test the “strengths and

weaknesses of the proposed settlement.” Id.; see also Ex. C at 42-47 (discussing need for

discovery in assessing potential defenses to the litigation).

       The need for independent discovery is even more necessary here given the allegations at

issue. Plaintiffs have set forth numerous troubling allegations concerning the NFL’s knowledge

of the harm to which its players were continually being exposed and its fraudulent conduct in

response to that knowledge. These allegations include that the NFL knew or should have known

of the numerous reports and studies showing the dangers of repeated head trauma, Turner v.

Nat’l Football League, Civ. A. No. 2:14-cv-29-AB, Dkt. No. 1 ¶¶ 91, 95, 99, 105 (E.D. Pa. Jan.

6, 2014); the NFL’s own independent examination of former Pittsburgh Steeler and Hall of Fame

inductee Mike Webster – the player whose autopsy triggered the discovery of CTE in NFL

players – caused it to conclude that Webster was “completely and totally disabled as of the date

of his retirement and was certainly disabled when he stopped playing football sometime in 1990”

because of his brain injuries, id. ¶ 114; the NFL published junk science to ease medical concerns

about the effects of repeated head trauma, id. ¶¶ 168, 173, 197; the NFL issued a concussion

pamphlet informing readers that “[c]urrent research with professional athletes has not shown that

having more than one or two concussions leads to permanent problems if each injury is managed

properly,” id. ¶ 180; and the NFL took efforts to silence those who suggested a correlation

between MTBI and long-term brain injury, see id. ¶¶ 168, 173, 197.

       At a minimum, class members are entitled to know whether the NFL possesses

information relevant to these claims and to test the strengths and weaknesses of the NFL’s

asserted defenses before being bound by a settlement already rife with numerous internal

conflicts and fundamental structural defects.



                                                 12
      Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 13 of 14




                                        CONCLUSION

       The Court should grant Movants leave to conduct limited discovery and order the settling

parties to respond to the discovery requests, interrogatories, and depositions attached as Exhibit

A. Movants are prepared to meet and confer with Class Counsel and the NFL forthwith to

address any issues they may have concerning the discovery.



Dated: September 13, 2014                           /s/ Steven F. Molo
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                                               13
      Case 2:12-md-02323-AB Document 6169-1 Filed 09/13/14 Page 14 of 14




                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 13, 2014, I caused the foregoing Motion for Leave to

Conduct Limited Discovery, Memorandum of Law in Support of Motion for Leave to Conduct

Limited Discovery, Proposed Order, and Limited Discovery Requests to be filed with the United

States District Court for the Eastern District of Pennsylvania via the Court’s CM/ECF system,

which will provide electronic notice to all counsel and parties.



                                                             /s/ Steven F. Molo
                                                             Steven F. Molo
